Case 3:20-cv-06754-WHA   Document 829-12   Filed 06/29/23   Page 1 of 6




                Exhibit 10
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                                        Sonos CEO says               829-12
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    Sonos CEO says this is the most challenging time for tech
    companies he’s ever seen
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                Kevin Stankiewicz                                                                                                          WATCH LIVE
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    KEY POINTS
        “In my 23 years in tech, I haven’t seen a period as challenged as this,” Sonos CEO Patrick
        Spence told CNBC’s Jim Cramer.


        However, the executive said he sees reasons to be optimistic that problems such as the
        chip shortage will improve next year.


        “While there are some delays in the near term ... fundamentally it doesn’t change the
        long-term trajectory of our business,” Spence said on “Mad Money.”




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        VIDEO       02:24

        Sonos CEO says this is the most challenging time he’s ever seen for tech companies


    Sonos          CEO Patrick Spence told CNBC’s Jim Cramer on Tuesday the coronavirus pandemic’s
    impact on business for technology companies has been profound.

    “The industry right now is probably in its most challenging time it’s ever been in terms of
    semiconductors and port delays and container shortages, you name it,” Spence said in an
    interview on “Mad Money.” “In my 23 years in tech, I haven’t seen a period as challenged as
    this.”

    While supply chains have been disrupted since the Covid crisis began in earnest in early 2020,
    Spence said he does see some reason for optimism.

    “The good news is that as we look at ’22, I think we see more fabs coming online in the
    semiconductor space,” said Spence, who’s led Sonos since 2017. He first joined the speaker
    maker in 2012 to serve as chief commercial officer.

    “These are short-term issues that we’ll be able to work through, so while there are some delays in
    the near term — and certainly a speed bump from a supply-chain perspective industry wide —
    fundamentally it doesn’t change the long-term trajectory of our business,” Spence said.

    Asked by Cramer whether Sonos has seen order cancellations because a product isn’t readily
    available, Spence said the company appreciates the patience many customers have exhibited.

    “We watch very closely our backlog. ... The great news is they’re willing to wait for their next
    Sonos because they’ve already started to invest in the system, and it just gets better over time,”
    Spence said. “People have shown a willingness to wait, and it’s a considered purchase. This isn’t
    an impulse purchase. ... We just feel very grateful customers have been willing to stick with us
    while we have these short-term supply challenges.”



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          Sonos CEO on the ‘golden age of audio,’ supply chain issues and patent fight against Google

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